Case 4:19-cv-07123-PJH   Document 596-6   Filed 03/13/25   Page 1 of 3




                  EXHIBIT
       Case 4:19-cv-07123-PJH                              Document 596-6                      Filed 03/13/25                  Page 2 of 3


From:                     EXT - Luca Marzorati
To:                       Aaron Craig; EXT - fb nso
Cc:                       Joe Akrotirianakis; Matt Dawson; Matt Noller
Subject:                  RE: Draft joint verdict form -- KS Edits
Date:                     Wednesday, March 12, 2025 10:23:30 AM
Attachments:              image001.png
                          DRAFT PLS [Proposed] Verdict Form.docx
                          Comparison Redline - DRAFT PLS Proposed Verdict Form (KS markup) and DRAFT PLS [Proposed] Verdict Form-
                          99659391-v12.pdf


CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

We’ve attached a revised proposed draft of the verdict form, which remains subject to our
client’s review.

Plaintiffs no longer intend to seek disgorgement, and believe that a simple verdict form is
appropriate for Plaintiffs’ request for compensatory damages.

Cal. Penal Code § 502(e)(4) does not impose a standalone requirement that Plaintiffs prove
that Defendants’ conduct was “willful.” See Cal. Penal Code § 502(e)(4) (requiring plaintiff
to “prove[] by clear and convincing evidence that a defendant has been guilty of
oppression, fraud, or malice”). We have not located, and you have not provided, any
support for that proposition, whether in case law or precedent jury instructions or verdict
forms. If you have any basis for adding this additional requirement, please provide it to us.

For the avoidance of doubt, Plaintiffs oppose Defendants’ request for a bifurcated trial.

Thanks,
Luca

Luca Marzorati
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+1 718 304 6950 mobile
luca.marzorati@davispolk.com

Davis Polk & Wardwell LLP
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From: Aaron Craig <ACraig@KSLAW.com>
Sent: Friday, March 7, 2025 1:38 PM
To: fb.nso <fb.nso@davispolk.com>
Cc: Joe Akrotirianakis <JAkro@KSLAW.com>; Matt Dawson <MDawson@KSLAW.com>; Matt Noller
<MNoller@KSLAW.com>
Subject: Draft joint verdict form -- KS Edits

Micah et al.,
       Case 4:19-cv-07123-PJH                         Document 596-6                   Filed 03/13/25               Page 3 of 3




Attached are our proposed edits to your joint verdict form. We are still discussing internally
questions 1 and 2 and are happy to confer with you at your convenience.

–––
Aaron Craig
Partner


T: +1 213 443 4311 | E: acraig@kslaw.com | Bio | vCard

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